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                      UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MARYLAND
                           SOUTHERN DIVISION


AMERICAN FEDERATION OF                         Case No. 8:25-cv-00430
TEACHERS, et al.,

            Plaintiffs,

      vs.

SCOTT BESSENT, et al.,

            Defendants.


                 DECLARATION OF MATTHEW S. BIGGS

I, Matthew S. Biggs, declare as follows:

  1.​ I am over the age of 18 and have personal knowledge of the facts in this
      declaration.

  2.​ I am the President of the International Federation of Professional and
      Technical Engineers (“IFPTE”). IFPTE is an international labor organization
      headquartered in Washington, D.C., that represents approximately 34,000
      federal employees in addition to its other public and private sector
      represented bargaining units. Over 7,000 of these represented federal sector
      employees are dues-paying members. The majority of federal employees
      represented by IFPTE work at the Department of Defense, many in the Navy
      shipyards. Represented employees include nuclear submarine engineers,
      scientists and researchers at NASA, Administrative Law Judges at the Social
      Security Administration, and nuclear engineers at the Tennessee Valley
      Authority, as well as employees of the Environmental Protection Agency.
      IFPTE comprises many members who are veterans and represents and
      advocates for veterans and veterans’ groups.


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3.​ As a labor union, IFPTE provides representation, information, and
    legislative advocacy for individual federal employees and represented units
    regarding terms and conditions of employment. This includes assistance
    with negotiating pay, healthcare, pensions, security clearances and the
    security revocation process, both at the IFPTE level and by supporting our
    local affiliates. We also provide training to federal sector local affiliates on
    how to bargain contracts regarding pay and benefits. IFPTE has a legislative
    program that includes priorities advocating for pay raises for federal
    employees and protecting federal pensions and healthcare. IFPTE has
    advocated for at least the last ten years for student loan forgiveness for
    public sector workers, including federal employees.

4.​ IFPTE helps its represented federal employees in navigating reasonable
    accommodations, leave under the Family Medical Leave Act and veterans
    preference issues in the workplace, including for the purposes of promotions
    and points for disability. This requires dealing with personal and medical
    information.

5.​ In addition to representation in federal workplaces that directly involves
    federal employee PII, IFPTE trains its federal locals on how to interact with
    OPM when it comes to processing retirement benefits, different types of pay
    schedules, special pay rates, and the like. Our local affiliates provide this
    same training for their individual members regarding interactions with OMB
    and other Executive Branch agencies. IFPTE also consistently advocates for
    adequate funding for OPM for processing retirement benefits and
    eliminating the backlog in processing retirement applications. This includes
    advocating against the first Trump administration’s efforts to shutter OPM.

6.​ Because the services and advocacy IFPTE provides for its federal members
    involves sharing members’ personal data with government agencies, and
    because IFPTE’s federal employee members have extensive personal data
    stored in federal personnel and payment systems, IFPTE’s advocacy efforts
    include calling on federal legislators and agencies to implement policies that
    protect IFPTE members’ privacy interests. Specifically, IFPTE advocates to

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    Congress to invest in software and cybersecurity measures to protect the PII
    of our represented federal employees. When OPM’s data system was
    breached in 2015 by hackers, IFPTE advocated to Congress to provide credit
    monitoring and other individual assistance to federal employees.

7.​ At the local affiliate levels, our locals assist their represented employees in
    ensuring that the agency employers take steps to protect the PII of their
    members. As an example, IFPTE-represented Social Security
    Administrative Law Judges consistently face personal threats because of
    their jobs, and as such must advocate that their employing agency take every
    possible measure to protect their PII, including home addresses and other
    contact information.

8.​ I am aware of and can identify individual IFPTE members who have federal
    student loan debt, and/or are federal employees, and/or who have records
    housed within OPM and Department of Education records systems and
    receive payments from the United States Treasury. Specifically, I am aware
    of individual members with personally identifiable information contained in
    the payment systems of Treasury's Federal Disbursement Services; in the
    federal work files of OPM, including USAJOBS and the Electronic Official
    Personnel Folder, among others; and in the Department of Education’s
    National Student Loan Data Systems, Common Origination and
    Disbursement System, FUTURE ACT System, and Financial Management
    System.

9.​ I am aware that sensitive information about IFPTE members is contained in
    these record systems, including Social Security numbers, bank account
    numbers, details of personal finances, and personnel information. Improper
    disclosure of this information increases the risk of access by external actors,
    doxxing, identity theft, invasion of personal privacy, personal threats to
    safety, and financial crimes against IFPTE members. Introducing sensitive
    personal data into artificial intelligence systems enhances these risks.

10.​ I am not aware of any IFPTE member who has requested or authorized
     DOGE or its representatives to access their personal data.

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    11.​ I am aware of and can identify individual members whose right to privacy
         has been violated by such disclosures.

    12.​ I am aware of and can identify individual federal employee members who
         received an email from OPM on their federal agency account with the
         subject “Fork in the Road,” detailing a plan for federal employees to
         immediately resign their positions.

    13.​ I have personally heard from members from every IFPTE federal sector
         local across the agencies in which we represent workers who are deeply
         concerned about the risks to their privacy and data security posed by
         unvetted and unqualified people associated with DOGE going through their
         personal and financial data.


I declare under penalty of perjury that the foregoing is true and correct.

Executed: February 12, 2025

                                                ____________/s/*___________
​      ​      ​     ​     ​      ​      ​       Matthew S. Biggs

*Counsel hereby certifies that he has a signed copy of the foregoing document
available for inspection at any time by the court or a party to this action.




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